Case 23-12722-pmm          Doc 54    Filed 04/04/24 Entered 04/04/24 16:33:31           Desc Main
                                    Document      Page 1 of 4



                   UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                          :
                                                 :   Chapter 11
 WOPIRB, LLC                                     :
                                                 :   Bky. No. 23-12722-pmm
                  Debtor(s).                     :
                                                 :
                                                 :   MOTION FOR RELIEF FROM STAY
 Stormfield Capital Funding I, LLC,              :   1301-03 West Moyamensing Avenue
                                                 :   Philadelphia, PA 19148
                  Movant                         :
                                                 :
 vs.                                             :   11 U.S.C. § 362
                                                 :
 WOPIRB, LLC                                     :
                                                 :
                  Respondent.                    :
                                                 :


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY


          STORMFIELD CAPITAL FUNDING I, LLC (“Movant” or “Secured Creditor”) by and

through its attorneys, Fein, Such, Kahn & Shepard, P.C., hereby requests termination of the

Automatic Stay pursuant to 11 U.S.C. § 362 and leave to proceed with its state court rights on its

mortgage on real property owned by WOPIRB, LLC (“Debtor”), and in support thereof alleges

as follows:

          1.     This Court has jurisdiction over this matter pursuant to 11 U.S.C. §§ 157, 1334 as

well as § 362.

          2.     On or about November 29, 2021, WOPIRB, LLC, in connection with a business

loan, executed a Promissory Note (the "Note") secured by a recorded Mortgage (the “Mortgage”)

in the original principal sum of $475,000.00 on real property known as 1301-03 West

Moyamensing Avenue, Philadelphia, PA 19148 (the “Property”). Said Mortgage was recorded in
Case 23-12722-pmm         Doc 54    Filed 04/04/24 Entered 04/04/24 16:33:31             Desc Main
                                   Document      Page 2 of 4



the Office of the Recorder of the PHILADELPHIA County Clerk/Register, on March 8, 2022, at

Instrument No. 53990906. Said Mortgage was assigned from STORMFIELD SPV I, LLC to

STORMFIELD CAPITAL FUNDING I, LLC by Assignment of Mortgage (the “Assignment”)

dated September 23, 2022 and recorded on September 23, 2022 in the Office of the

PHILADELPHIA County Clerk/Register at Instrument No. 54101473. A copy of the Note,

Mortgage and Assignment are attached hereto and marked as Exhibits A, B and C.

       3.      STORMFIELD CAPITAL FUNDING I, LLC, directly or through an agent, has

represented it is in possession of the Note and is the holder of the Note with the right to enforce

it; the Note is either made payable to Stormfield or has been duly indorsed.

       4.      The Note required the Debtor to make monthly interest only payments beginning

January 1, 2022 and all subsequent payments to be due on the 1st day of every month thereafter

until maturity on December 1, 2022.

       5.      The instant Chapter 11 bankruptcy petition was filed by the borrower, Debtor, on

September 11, 2023. See ECF No. 1.

       6.      Prior to the bankruptcy filing, the Debtor was in default and a foreclosure action

was initiated by Movant. Judgment was entered on its behalf by the Court of Common Pleas of

Philadelphia County, Pennsylvania on February 28, 2023. A copy of the Judgment is attached

hereto and marked as Exhibit D.

       7.      Secured Creditor filed a timely proof of claim (the “Claim”) in the amount of

$576,894.46 on November 17, 2023 under Claim 3-1 on the Claims Register.

       8.      On December 11, 2023, a Chapter 11 Plan of Reorganization (the “Plan”) was

filed by Debtor and is currently pending. See ECF No. 30. The Plan listed Stormfield as impaired

under Class 2. The Plan proposed to pay to the extent allowed as a secured claim under 11 U.S.C.

§ 506 through a sale of the Property. More specifically, the Plan stated the Debtor was in
Case 23-12722-pmm        Doc 54     Filed 04/04/24 Entered 04/04/24 16:33:31             Desc Main
                                   Document      Page 3 of 4



discussions with several investors interested in purchasing the Property. The Debtor intended to

provide further information on or before December 31, 2023. The Plan contains no other

information in reference to the prospective sale.

        9.     On February 16, 2024, Secured Creditor filed an Objection to Debtor’s Plan. See

ECF No. 35. As of March 21, 2024, no hearing has been set with respect to confirmation of the

Plan.

        10.    As of March 25, 2024, there is no support that Debtor actively marketed the

property for sale over the prior six (6) months.

        11.    Pursuant to a recent Residential Broker Price Opinion (the “BPO”) dated March

14, 2024, the Property has a 90-120 Market Value in the amount of $550,000.00. A copy of the

BPO is attached hereto and marked as Exhibit E.

        12.    The amount due as of the date of bankruptcy filing was $576,894.46. As of March

17, 2024, not including advances, the amount due is $594,302.76. A copy of the payoff statement

is attached hereto and marked as Exhibit F.

        13.    As detailed in the prior paragraphs, there is no equity in this property. Also, the

Property would not appear necessary to an effective reorganization in prospect. As time passes,

interest accrues and other advances are made thereby likely making any potential equity to be

diminished.

        14.    Upon information and belief, the Debtor has failed to maintain adequate insurance

coverage on the Property. In support, Movant has provided copies of Mortgagor's Notice of

Insurance (Evidence of Insurance Coverage Placed) with premiums totaling the sum of

$21,234.00. Copies have been attached hereto and marked as Exhibit G.
Case 23-12722-pmm           Doc 54     Filed 04/04/24 Entered 04/04/24 16:33:31            Desc Main
                                      Document      Page 4 of 4



       15.        As of the date of the filing of this motion, there has been no evidence of payments

made or other form of adequate protection offered since the bankruptcy filing. Therefore,

Movant is not adequately protected.

       16.        Therefore, sufficient cause exists to termination the automatic stay pursuant to 11

U.S.C. § 362(d)(1) and (d)(2) and to allow Movant to resume its state court action.

       17.        Movant has incurred legal fees and costs in connection with this motion. Movant

reserves all rights to seek an award or allowance of such fees and expenses in accordance with

the underlying loan agreement, the Bankruptcy Code and other applicable law.

       18.        The Movant is entitled to relief from stay for cause.

       19.        Movant does not waive any right to seek reimbursement of any amounts not

included in this motion, including fees and costs, due under the terms of the mortgage and

applicable law.

       WHEREFORE, the Movant prays that an Order be entered terminating the automatic stay

and permitting the Movant to proceed with its state court remedies on the mortgaged premises

including taking any legal action to enforce its right to possession of the mortgage premises.

Further, the Movant prays that an Order be entered awarding costs and reasonable attorney's fees

in accordance with the mortgage document and current law together with interest and for any

other relief as deemed equitable and just.



 DATED: April 4, 2024                                Respectfully submitted,
                                                     FEIN, SUCH, KAHN & SHEPARD, P.C.
                                                     Attorneys for STORMFIELD CAPITAL
                                                     FUNDING I, LLC

                                                     /s/ Vincent DiMaiolo, Jr.
                                                     VINCENT M. DiMAIOLO, JR., ESQ.

cc:    Michael A. Cibik, Esq. - DEBTOR
       Kevin P. Callahan, Esq. - OFFICE OF U.S. TRUSTEE
